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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF GEORGIA
                           COLUMBUS DIVISION

S.L.L.,                                :
                                       :
                   Petitioner,         :
                                       :
v.                                     :      Case No. 4:25-cv-35-CDL-AGH
                                       :             28 U.S.C. § 2241
MERRICK GARLAND, et al.,               :
                                       :
                  Respondents.         :
_________________________________

                                       ORDER

      The Court received Petitioner’s application for habeas corpus relief under

28 U.S.C. § 2241 on January 27, 2025 (ECF No. 1).           Having initially reviewed

Petitioner’s application, the Court finds good cause to extend the time for a response.

28 U.S.C. § 2243. Accordingly, Respondents shall have twenty-one (21) days to file a

comprehensive response to said application.      Within fourteen (14) days thereafter,

Petitioner should file any desired reply. The Court will consider whether to hold an

evidentiary hearing once briefing is complete.

      SO ORDERED, this 30th day of January, 2025.

                                           s/ Amelia G. Helmick
                                           UNITED STATES MAGISTRATE JUDGE
